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14                            UNITED STATES DISTRICT COURT
15                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
16
     HDMI LICENSING ADMINISTRATOR,                 Case No. 4:22-cv-6947-HSG
17   INC.,
                                                   DECLARATION OF
18
                  Plaintiff and Counterclaim       VINCENT FILARDO, JR., ESQ.
19                Defendant,                       IN SUPPORT OF DEFENDANT’S
                                                   OPPOSITION TO PLAINTIFF’S MOTION TO
20         v.                                      RESCHEDULE CASE MANAGEMENT
                                                   CONFERENCE AND HEARING ON MOTION
21   AVAILINK INC.,                                TO DISMISS PURSUANT TO LOCAL RULE
                                                   6-3
22
                  Defendant and Counterclaimant.
23                                                 Complaint Filed: November 7, 2022
                                                   Counterclaims Filed: September 1, 2023
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 1           I, Vincent Filardo, Jr., declare as follows:
 2           1.     Defendant filed its partial Motion to Dismiss (“MTD”) on April 12, 2023. See ECF
 3 No. 30.

 4           2.     The MTD seeks to dismiss Plaintiff’s claims for (i) direct trademark infringement,
 5 (ii) contributory trademark infringement, and (iii) federal unfair competition. Id.

 6           3.     Plaintiff’s Opposition was filed on April 26, 2023 (see ECF No. 39). Defendant’s
 7 reply brief was filed on May 3, 2023 (see ECF No. 40). The MTD has been fully briefed since

 8 May 3, 2023.

 9           4.     The MTD was originally scheduled to be heard on July 20, 2023, however, the
10 parties agreed to adjourn the hearing to provide additional time to mediate. See ECF No. 43.

11           5.     The MTD was rescheduled to be heard on July 27, 2023. See ECF No. 44.
12           6.     The parties appeared for an in-person mediation in San Jose, California on July 12,
13 2023.

14           7.     Plaintiff apparently did not appear with authorized representatives, as its
15 representatives were incapable of responding to Defendant’s settlement proposal.

16           8.     Instead, Plaintiff informed Defendant that HDMI’s “founders” would need to
17 discuss the offer at a scheduled August 8, 2023 meeting.

18           9.     In order to provide the founders time to discuss the settlement proposal, Plaintiff
19 requested Defendant’s consent to adjourn the MTD hearing and Case Management Conference

20 until October 2023. See ECF No. 46.

21           10.    Based on Plaintiff’s representations, Defendant in good faith agreed to Plaintiff’s
22 request.

23           11.    At Plaintiff’s further request, Defendant also agreed at mediation to postpone the
24 filing of its Answer and Counterclaims until Plaintiff had an opportunity to respond to the

25 settlement proposal.

26           12.    A draft copy of the Counterclaims (which is substantially similar to the version
27 filed with the Court) was produced to Plaintiff prior to mediation.

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 1          13.    On August 22, 2023, Plaintiff informed Defendant that its founders had – at their
 2 August 8 meeting – wholly rejected Defendant’s settlement proposal.

 3          14.    Defendant filed its Counterclaims on September 1, 2023. See ECF No. 49.
 4          15.    On September 8, 2023, Plaintiff requested an additional 30 days to respond to the
 5 Counterclaims.

 6          16.    In making its request, Plaintiff did not ask for Defendant’s consent to adjourn the
 7 MTD hearing.

 8          17.    Nor did it inform the Court in its application for extension that the requested
 9 extension would further delay the proceedings. See ECF No. 50.

10          18.    To the contrary, Defendant added specific language to the stipulation clarifying that
11 by agreeing to extend Plaintiff’s time to respond, the parties were not seeking to extend the hearing.

12 Attached hereto as Exhibit A is a true and correct copy of Defendant’s track changes to the draft

13 stipulation originally prepared by Plaintiff.

14          19.    Plaintiff agreed to this language at the time of filing. See ECF No. 50.
15          20.    Less than a week later, Plaintiff requested to adjourn the MTD hearing.
16          21.    On September 19, 2023, I responded to Plaintiff’s request by initially setting forth
17 the above series of events and then responding that “[a]t this juncture the hearing on the MTD and

18 CMC will be delayed for nearly 3 months. HDMI’s putative motion to dismiss Availink’s

19 Counterclaims is not a reasonable basis to further delay the proceedings and the requested delay is

20 not supported by federal practice and procedure. Availink disagrees that it is necessary or would

21 be efficient to further postpone.”

22          I declare under penalty of perjury that the foregoing is true and correct.
23          Dated: September 25, 2023                     KING AND WOOD MALLESONS LLP
24                                                        /s/ Vincent Filardo, Jr.
                                                          VINCENT FILARDO, JR.
25
                                                          (admitted pro hac vice)
26
                                                          Attorneys for Defendant and
27                                                        Counterclaimant, Availink Inc.

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 1                                 CERTIFICATE OF SERVICE
 2         I hereby certify the on September 25, 2023, I electronically filed the foregoing document
 3 using the CM/ECF system, which will send notification of such filing to the email addresses

 4 registered in the CM/ECF system.

 5
     Dated: September 25, 2023                         KING AND WOOD MALLESONS LLP
 6
                                                       /s/ Vincent Filardo, Jr.
 7
                                                       VINCENT FILARDO, JR.
 8                                                     (admitted pro hac vice)

 9                                                     Attorneys for Defendant and
                                                       Counterclaimant, Availink Inc.
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